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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

In re: KATRINA CANAL BREACHES *
CONSOLIDATED LITIGATION * CIVIL ACTION: 05-4182 “KK” (2)
Plaintiff, *
* JUDGE: STANWOOD R. DUVAL
se
*k
PERTAINS TO: INSURANCE “ MAGISTRATE JUDGE
Abadie et al, v. Aegis Security Insurance Co.* JOSEPH C. WILKINSON
No. 06-5164 *k
[:
Defendant. '

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ORDER
Considering the foregoing Partial Motion fo Dismiss Plaintiff Jeannette St. Etienne,
With Prejudice;
IT IS ORDERED that the Partial Motion to Dismiss Plaintiff Jeannette St. Etienne,
With Prejudice be and hereby is GRANTED, and that the claim of Jeannette St. Etienne asserted
herein against Allstate Insurance Company be and hereby is dismissed with prejudice. All claims
asserted by other Plaintiffs are reserved.

New Orleans, Louisiana, this day of March, 2006.

JUDGE

Bruno Motion to Dismiss Federal Court Suit
